Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 1 of 22

& CT Corporation Service of Process
Transmittal
08/26/2021
CT Leg Number 540148342

TO: Scott Hampton
F21 Opco, LLC
3680 N MISSION RD RM 3110
LOS ANGELES, CA 90031-3138

RE: Process Served in Louisiana

For: Forever 21 Retail, Inc. (Domestic State: CA)
According to our records representation services for this entity have been discontinued in this jurisdiction.

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION: KAREN BROWN, PLTF. vs. FOREVER 21 RETAIL INC, ETC. AND NATIONAL UNION FIRE
INSURANCE COMPANY OF PITTSBURGH, PA, DFTS.

DOCGUMENT(S) SERVED; -

COURTIAGENCY: None Specified
Case # 820460

NATURE OF ACTION: Personal Injury - Failure to Maintain Premises in a Safe Condition

ON WHOM PROCESS WAS SERVED: C T Corporation System, Baton Rouge, LA

DATE AND HOUR OF SERVICE: By Process Server on 08/26/2021 at 08:50

JURISDICTION SERVED : Louisiana

APPEARANCE OR ANSWER DUE: None Specified

ATTORNEY(5) / SENDER(S)}: None Specified

ACTION ITEMS: CT has setained the current log, Retain Date: 08/26/2021, Expected Purge Date:
Image SOP

Email Notification, Scott Hampton scott.hampton@forever21.com
Email Notification, Laura Holguin laura.holguin@forever21t.com
Email Notification, Alex Santana atex.s@forever21.com

Email Notification, Lori Tranquilla lori.t@forever21.com

Email Notification, Timothy Tyler timothy.t@forever21.com
Email Notificatton, Laura Holguin laura. holguin@forever21.com
Email Notification, James Kim james. kim@forever21.com

Email Notification, Heldi Ha heidi@forever21.com

Email Notification, Jerry Nch jerry.nch@forever21.com

Page 1 of 2/ NK

EXHIBIT

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Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 2 of 22

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LOS ANGELES, CA 90031-3138

RE: Process Served in Louisiana

FOR: Forever 21 Retail, Inc. (Domestic State: CA)
According to our records representation services for this entity have been discontinued in this jurisdiction.

Email Notification, Kate Chun kate@forever21.com

REGISTERED AGENT ADDRESS: C T Corporation System
3867 Piaza Tower Dr,
Baton Rouge, LA 70816

877-564-7529

MajorAccountTeam2@wolterskluwer.com
The information contatned in this Transmittal is provided by CT for quick reference only, It does not constitute a legal opinion, and should not otherwise be
relled on, as to the nature of action, the amount of damages, the answer date, or any other information contained tn the included documents. The rectptent(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its tegal and other
advisors as necessary. CT disclaims all Ifability for the information contained in this form, including for any omissfons or inaccuracies that may be contained
therein,

Page 2of 2 / NK

 
 

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(101) CITATION: PETITION FOR DAMAGES; ‘ 210818-7108-5

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

KAREN BROWN -

Versus . Fa ti
FOREVER 21 RETAIL INC, FOREVER 21, NATIONAL Be ee on K
UNION FIRE INSURANCE COMPANY OF PITTSBURGH
PA ]

To; FOREVER 21 RETAILING ©

THROUGH ITS REGISTERED AGENT: ~ .

CT CORPORATION SYSTEM #11961 $78.72 SEBR
3867 PLAZA TOWER DRIVE ;
BATON ROUGE LA 70816

PARISH OF JEFFERSON

~ You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES of which a true and correct copy accompanies this citation, or make an
appearance either by filing a pleading or otherwise, in the 24th Judicial District Court in and for
the Parish of Jefferson, State of Louisiana, within (15) CALENDAR days after the service
hereof, under penalty of default.

This service was requested by attomey MICHAEL J. BEGOUN and was issued by the Clerk of
Court on the 18th day of August, 2021.

ist Donna G. Mugcarello .
Donna G. Muscarello, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court .

SERVICE INFORMATION
_ (101) CITATION: PETITION FOR DAMAGES; °210818-7108-5

 

 

 

 

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Deputy Sheri
Parish of

 

Themas F, Ponelan Courthouse : 200 Darbigny St. : Gretna LA 70053
Page 1 of 1

 
 

 

Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 4 of 22

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JEFFERSON PAREH, LA

24" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

STATE OF LOUISIANA

4
DOCKET NO.: §20%60 ,
DIVISIO "

KAREN BROWN
VERSUS

FOREVER 21 RETAIL, INC D/B/A FOREVER 21 and
NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA

FILED:

 

DEPUTY CLERK
PETITION FOR DAMAGES
The Petition of KAREN BROWN, person of the full age of majority and resident of the
Parish of Jefferson, State of Louisiana, with respect represent:
h

Named Defendants herein for a reasonable amount of damages are:

A. First named Defendant is FOREVER 21 RETAIL, INC D/B/A FOREVER 21
[Hereinafter referred to as Forever 21], who upon information and belief is a
foreign corporation authorized to do and doing business in the Parish of J efferson,
State of Louisiana, on September 5, 2020;

B. Second named Defendant is, NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA [Hereinafter referred to as National
Union Fire], who upon information and belief is a foreign insurance company
authorized to do and doing business in the Parish of Jefferson, State of Louisiana,
who at all times mentioned herein issued a policy or policies of liability insurance
to Defendant, Forever 21, for the damages complained of herein, the exact terms

of which are plead herein as if copied in extenso;

 

 

 
 

 

Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 5 of 22
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IL.

AH of the aforementioned defendants are jointly, severally and in solido liable unto

 

petitioner for a reasonable sum in the premises, together with legal interest thereon from date of

judicial demand until paid, and for all costs af these proceedings for the following reasons to wit:

. iil.

On or about September 5, 2020, at approximately 6:00 p.m., petitioner, Karen Brown,
was shopping at Forever 21 in the Lakeside Mall located at 3301 Veterans Memorial Blvd,
Metairie, Louisiana 70002 in the Parish of Jefferson, State of Louisiana. Petitioner was in the
back area of the store shopping when suddenly she slipped and fell on an uneven floor tile in said
area where the tile was, that was not marked.

IV.

The aforementioned Defendant, Forever 21, is liable for its own negligence under Article
2315 of the Louisiana Civil Code and things in his custady and control under Article 2317 of the
Louisiana Civil Cade,

¥.

Further, Defendant, National Union Fire, issued a policy or policies of liability insurance
to Defendant; Forever 21, which was in full force and effect at the time of the aforementioned
slip and fall and is therefore liable under the terms of said policy for the injuries suffered by
Petitioner, which policy, upon information and belief is insufficient to compensate Petitioner for

the damages sustained in the collision made the basis of this lawsuit.

Vi.
Defendant, Forever 21, is liable unto Petitioner for its own negligence, which negligence
includes but is not limited to the following:
a) Failure to identify the hazardous condition of the premises at issue (the exposed

broken tile);

 

 

 
Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 6 of 22
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a) .
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b) Failure to maintain the premises in a safe manner;
c) Allowing the defective/hazardous condition to exist;
d) Failure to warn the guests/visitors and/or the general public and in particular this
Petitioner of the dangerous condition of the premises;
° e) Failure to routinely and carefully inspect the business premises for use by invitees
’ and business patrons;
f) Failure to take the necessary precautions to avoid incidents as the one made the
basis of this litigation; and
g) Taking no corrective actions to alleviate the dangerous situation; and
h) Any and all other acts or omissions constituting negligence or strict liability to be

proven and shown at the trial of this matter.

VII.
As a result of the aforementioned incident, Petitioner, Karen Brown, suffered injuries
which include, but are not limited to her right knee,
Vint.
Petitioner, Karen Brown, is entitled to an amount in damages reasonably calculated to
compensate her for injuries she sustained which include, but not limited to:
a. Past, present and future mental pain, suffering and anguish;
b, Past, present and future physical pain and suffering and loss of function;
c. Past, present and future medical expenses;
d. Loss of enjoyment of life;

e Any and all other damages cognizable by the Constitution of the State of
Louisiana and the United States Constitution.

IX,
Petitioner avers amicable demand to no avail.
WHEREFORE, Petitioner, KAREN BROWN, prays that her Petition be filed and that
Defendants, FOREVER 21 RETAIL, INC. D/B/A FOREVER 21 and NATIONAL UNION

FIRE INSURANCE COMPANY OF PITTSBURGH, PA, be duly cited and served with a

 
 

 

Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 7 of 22

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copy of same, to appear and answer same and after all legal delays and due proceedings are had
that there be judgment herein in favor of Petitioner, KAREN BROWN, end against Defendants,
FOREVER 21 RETAIL, INC. D/B/A FOREVER 21 and NATIONAL UNION FIRE
INSURANCE COIMPANY OF PITTSBURGH, PA, jointly severally and in solido in an
amount reasonably calculated to compensate Petitioner for her damages, together with legal
interest thereon, from date of judicial demand until paid and for all costs of the proceedings and
all genera! and equitable relief this Honorable Court deems necessary.

Respectfully submitted,

BY:

 

MARK WOLFE (LSB #13633)
NANCY 5, SILBERT (LSB #01597)

T. DANIEL PICK (LSB #21021)

2200 Tulane Avenue, Suite 200

New Crleans, Louisiana 70119
Telephone: (504) 569-9500

Facsimile: (504) 569-9005

Attorneys for Petitioner, Karen Brown

PLEASE SERVE:

FOREVER 21 RETAIL, INC,
Through its registered agent
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA
Agent: Louisiana Secretary of State

8585 Archives Ave
Baton Rouge, LA 70809
A TRUE COPY OF THE ORIGINAL
ON FILE IN THIS CE.
DEPUTY CLERK
24TH JUDICIAL DISTRICT COURT

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(101) CITATION: PETITION FOR DAMAGES; 210818-7108-5
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
KAREN BROWN

versus
Case: 820-460 Div: "K"
FOREVER 21 RETAIL INC, FOREVER 21, NATIONAL P 1 KAREN BROWN

UNION FIRE INSURANCE COMPANY OF PITTSBURGH
PA

To; FOREVER 27 RETAIL INC

THROUGH ITS REGISTERED AGENT:

CT CORPORATION SYSTEM #11961 $78.72 SEBR
3867 PLAZA TOWER DRIVE

BATON ROUGE LA 70816

PARISH OF JEFFERSON

You are hereby summoned to comply with the damand contained in the PETITION FOR
DAMAGES of which a true and correct copy accompanies this citation, or make an
appearance sither by filing a pleading or otherwise, in the 24th Judicial District Court in and for
the Parish of Jefferson, State of Louisiana, within (15) CALENDAR days after the service
hereof, under penalty of default.

This service was requested by attomey MICHAEL J. BEGOUN and was issued by the Clerk of
Court on the 18th day of August, 2021.

f a scarallo
Donna G. Muscarello, Deputy Clerk of Court for
Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

 

(101} CITATION: PETITION FOR DAMAGES; 210818-7108-5

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Service was made:
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Thomas F, Donelon Courthouse ; 200 Gerbigny St. : Grains LA 70053
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(101) CITATION: PETITION FOR DAMAGES; 210818-7109-3
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
KAREN BROWN
Versus Case: 820-460 Div: “it

FOREVER 21 RETAIL INC, FOREVER 21, NATIONAL
UNION FIRE INSURANCE COMPANY OF PITTSBURGH
PA

To: NATIONAL UNION FIRE INSURANCE COMPANY

OF PITTSBURGH PA

THROUGH AGENT #11959 $50.00 S/S
LOUISIANA SECRETARY OF STATE #11961 $78.72 SEBR
8585 ARCHIVES AVENUE

BATON ROUGE LA 70809

P 1 KAREN BROWN

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{si Donna G, Muscarelio,
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Jon A. Gegenheimer, Clerk af Court

SERVICE INFORMATION

 

 

(101) CITATION: PETITION FOR DAMAGES; 210818-7109-3
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Thomas F. Donsion Courthouse : 200 Derbigny St. : Grema LA 70053
Page tofi

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(101) CITATION: PETITION FOR DAMAGES; 210818-7108-5
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
KAREN BROWN

Versus .
Case: 820-460 Div: "K"
FOREVER 21 RETAIL INC, FOREVER 21, NATIONAL P 1 KAREN BROWN

UNION FIRE INSURANCE COMPANY OF PITTSBURGH
PA

To: FOREVER 21 RETAIL INC

THROUGH ITS REGISTERED AGENT:

CT CORPORATION SYSTEM #11961 $78.72 SEBR
3867 PLAZA TOWER DRIVE

BATON ROUGE LA 70816

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fs! Donna G, Muscarello
Donna G. Muscarelio, Deputy Clerk of Court for
Jon A, Gegenhelmer, Clerk of Court

SERVICE INFORMATION.

 

 

 

 

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Thomas F. Donalon Courthouse : 200 Derbigny St. : Gratna LA 70053
Page 1of1
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(101) CITATION: PETITION FOR DAMAGES; 210818-7108-3
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA
KAREN BROWN

versus .
Case: 820-460 Div: "K"
FOREVER 21 RETAIL INC, FOREVER 21, NATIONAL P 1 KAREN BROWN

UNION FIRE INSURANCE COMPANY OF PITTSBURGH
PA

To: NATIONAL UNION FIRE INSURANCE COMPANY

OF PITTSBURGH PA

THROUGH AGENT #11959 $50,00 S/S
LOUISIANA SECRETARY OF STATE #11961 $78.72 SEBR
8585 ARCHIVES AVENUE

BATON ROUGE LA 70808

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appearance either by filing a pleading or otherwise, fn the 24th Judicial District Court in and for
the Parish of Jefferson, State of Louisiana, within (45) CALENDAR days after the service
hereof, under penalty of default.

This service was requested by attommey MICHAEL J. BEGOUN and was Issued by the Clerk of
Court on the 18th day of August, 2027.

és! Donna G, Muscarelto,
Donna G. Muscarello, Deputy Clark of Court for
Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION,

 

 

 

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Thomas F. Donelon Courthouse : 200 Derbigny St. : Graina LA 70053
Page 1of 1

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~ Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Petpet 22

. APPENDIX 9.6 .
‘ LOUISIANA CIVIL CASE REPORTING
Civil Case Cover Sheet - LA. RS. 13:4688, Part G, §13 of the Louisiana Supreme Court
General Administrative Rutes, and Appendix 9.6 of the Loulsiana District Court Rutes

This civil case cover sheet shall be completed by counsel for the petitioner, counsel’s authorized

Tepresentative, or by the self-represented litigant (if not represented by counsel) and submitted with the

original petition filed with the court. The information should be the best available at the time of filing.

This information does rot constitute a discovery request, response or supplementation, and is not

admissible at trial.
Suit Caption:

Kaven Brown — vs. Forever A gund Waxional Union
Court: gut AG: Docket Number: ‘QMUOO

 

Parish of Filing: Telferoo Filing Date:
Name of Lead Petitioner’s Attorney: _ithael 7. Benner) CAASS
! _ ¥ J

Name of Self-Represented Litigant:

 

" Number of named petitioners: | Number of named defendants; 4.

Type of Lawsuit: Please check the categories which most appropriately apply to this suit
(us wore than 3 categories should be checked):

Auto: Personal Injury. __.Auto: Property Damage
_ Auto: Wrongful Death __ Auto: Uninsured Motorist
_—Asbestos: Property Damage ~ __ Asbestos: Personal Injury/Death co
*__ Product Liability _Premise Liability |
—_ZIntentional Bodily Injury _— Intentional Property Damage
_—AIntentional Wrongful Death __ Unfair Business Practice Ses a
__Business Tort __ Fraud ree ra
__Defamation Professional Negligence 9% a
__Environmental Tort — Medical Malpractice & 3
__ Intellectual Property __ Toxic Tort nee 2
. __ Legal Malpractice _— Other Tort (describe below) Been, 2
| __ Other Professional Malpractice __ Redhibition = o B
__ Maritime __ Class action (nature of case) > ™
__ Wrongful Death :
General Negligence

 

Please briefly describe the nature of the li
Glin and call gt fovever 94

tigation in one sentence of additional detail:

a - —_s

Following the completion of this form by counsel, counsel’s representative, or by the self-represented
litigant, this document will be submitted to the Office of the Judicial Administrator, Supreme Court of ;
Louisiana, by the Clerk of Court.

Name, address and contact information of person completing form:

NamefYVidnael J. BEAN Signature_\\, abel: A bog |

 

Address ‘Q000 Tiulaty Pve Ste 900 Nowa Ur -ong
Phone number, SOU-Gia G -FGAd E-mail address: Meegoun® wepyaw-cow

 
 

 

(101) CITATION: PETITION FOR DAMAGES; 210818-7108-5

24TH JUDICIAL DISTRICT COURT
FILED FOR RECORD oea1/2021 12:01:37 PARISH OF JEFFERSON
SEFRERSON PARISH STATE OF LOUISIANA
KAREN BROWN
Versus Case: 820-480 Div: "Kr

FOREVER 21 RETAIL INC, FOREVER 24, NATIONAL
UNION FIRE INSURANCE COMPANY OF PITTSBURGH ° 1 KAREN BROWN
PA

To: FOREVER 21 RETAIL INC

THROUGH iTS REGISTERED AGENT:

CT CORPORATION SYSTEM #11961 $78.72 SEBR
3887 PLAZA TOWER DRIVE

BATON ROUGE LA 70816

PARISH OF JEFFERSON

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fs/ Donna G, Muscarelto,
Donna G, Muscarello, Daputy Clerk of Court for
Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

 

 

(101) CITATION: PETITION FOR DAMAGES; 210818-7108-5

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Thomas F. Denelon Courthouse : 200 Derbigny St : Grotna LA 70053
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Case 2:21-cv-01764-BWA-DMD Document 1-1- Filed.09/24/21 Page 14 of 22

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Case 2:21-cv-01764-BWA-DMD Document 1-1 Filed 09/24/21 Page 15 of 22

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Notice of Service of Process TWahiate Processed: 09/03/2021
Primary Contact: Eric Manne

AIG Property Casually

1271 Avenue of the Americas

New York, NY 10020-1303
Entity: National Union Fire Insurance Company of Pittsburgh, Pa.

Entity ID Number 0085137

Entity Served: National Union Fire Insurance Company Of Pittsburgh Pa
Title of Action: Karen Brown vs. Forever 21 Retail Inc.
Matter Namei/ID: Karen Brown vs. Forever 21 Retail Inc. (14536072)
Document(s) Type: Citation/Petition
Nature of Action: Contract
Gourt/Agency: Jefferson Parish District Court, LA
Case/Referance No: 820460
Jurisdiction Served: Louisiana
Date Served on CSC: 09/01/2021
Answer or Appearance Due: 15 Days
Originally Served On: csc
How Served: Certified Mail

Sender Information:

Michael J. Begoun
504-569-9500

Information contained on this transmittal form {s for record keeping, notification and forwarding the attached document{s). It does not
constitute a legal opinion. The recipient is responsible for intarprating the documents and taking appropriate action.

To avoid potentlal delay, please do not send your respense to CSC

251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com

 
Case 2:21-cv-01764-BWA-DMD , Document 1-1 Filed 09/24/21 Page 16 of 22

State of Louisiana

Secretary of State
ao an
, Legal Services Section
08/27/2021 PO. Box 94125, Baton Rouge, LA 70804-9125
(225) 922-0415

NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH PA
C/O CORPORATION SERVICE COMPANY
501 LOUISIANA AVENUE

BATON ROUGE, LA 70802-5921

Suit No.: 820460

24TH JUDICIAL DISTRICT COURT . - visas
JEFFERSON PARISH

KAREN BROWN
VS
FOREVER 21 RETAIL INC, ET AL

: Mu . ; ot
. ‘Dear. SiMadam: «~~»;

| am enclosing a citation served In regard to the above entitled proceeding. If you are not the intended reciplent of
this document, please return [t to the above address with a letter of explanation. All other questions regarding this
document should be addressed to the attomey that filed this proceeding.

Yours very truly,
R. KYLE ARDOIN
Secretary of State
wee te soot *eG3"7 Lives
Served_on:; R, KYLE ARDOIN Date: 08/26/2021
Served by: E CUMMINS Title: DEPUTY SHERIFF
No: 1209649

TG

 

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(101) CITATION: PETITION FOR DAMAGES; 210818-7109-3

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

KAREN BROWN
OREVER IN Case: 820-460 Div: °K"
F 21 RETAIL INC, FOREVER 21, NATIONAL “"K sep
UNION FIRE INSURANCE COMPANY OF PITTSBURGH P1KAREN BROWN  p pyRVEDon

PA EARDOmMN
_ VAL UNION FIRE , AUG 2 6 2na4

To: NATIONAL UNION FIRE |NSURANCE COMPANY SEC

OF PITTSBURGH PA COMMERARY OF stare
THROUGH AGENT so #41959 $50.00 S/S CIAL Division
LOUISIANA SECRETARY OF STATE #11961 $78.72 SEBR

8585 ARCHIVES AVENUE

BATON ROUGE LA 70809 __

PARISH OF JEFFERSON

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the Parish of Jefferson, State of Louisiana, within (1 5) CALENDAR days after the service
hereof, under penalty of default.

. This service was requested by attorney MICHAEL J. BEGOUN and was issued by the Clerk of
Court on the 18th day of August, 2021. se

isi Donna GMiuscérello*
Donna G. Muscarello, Daputy Clerk of Court for
- don A. Gegenhelmer, Clerk of Court

SERVICE INFORMATION
(101) CITATION: PETITION FOR DAMAGES; 210818-7109-3

 

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Thomas F, Denelon Courthouse : 200 Derbigny St : Gratna LA 70053
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° JEFFERSON PARISH, LA

24% JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON
STATE OF LOUISIANA

DOCKET NO:
920460. DIVISION “

KAREN BROWN
. VERSUS

FOREVER 21 RETAIL, INC D/B/A FOREVER 21 and
NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA

FILED:

 

 

DEPUTY CLERK
PETITION FOR DAMAGES
The Petition of KAREN BROWN, person of the full age of majority and resident of the
Parish of Jefferson, State of Louisiana, with respect represent:
L

Named Defendants herein for a reasonable amount of damages are:

A. First named Defendant is FOREVER 21 RETAIL, INC D/B/A FOREVER 21
[Hereinafter referred to as Forever 21], who upon information and belief is a
foreign corporation authorized to do and doing business in the Parish of Jefferson,
State of Louisiana, on September 5, 2020;

B. Second named Defendant is, NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA [Hereinafter referred to as National
Union Fire], who upon information and belief is a foreign insurance company
authorized to do and doing business in the Parish of Jefferson, State of Louisiana,
who at all times mentioned herein issued a policy or policies of liability insurance
to Defendant, Forever 21, for the dameges complained of herein, the exact terms

of which are plead herein as if copied in extenso;

 
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I.
All of the aforementioned defendants are jointly, severally and in solido liable unto
petitioner for a reasonable sum in the premises, together with legal interest thereon from date of

. judicial demand until paid, and for all costs of these proceedings for the following reasons to wit:

THE.

On or about September 5, 2020, at approximately 6:00 p.m., petitioner, Karen Brown,
was shopping at Forever 21 in the Lakeside Mall located at 3301 Veterans Memorial Blvd,
Metairie, Louisiana 70002 in the Parish of Jefferson, State of Louisiana. Petitioner was in the
back area of the store shopping when suddenly she slipped and felf on an uneven floor tile in said
area where the tile was, that was not marked,

IV.

The aforementioned Defendant, Forever 21, is liable for its own negligence under Article
2315 of the Louisiana Civil Code and things in his custody and control under Article 2317 of the
Louisiana Civil Code.

Vv.

Further, Defendant, National Union Fire, issued a policy or policies of liability insurance
to Defendant, Forever 21, which was in full force and effect at the time of the aforementioned
Slip and fall and is therefore liable under the terms of said policy for the injuries suffered by
Petitioner, which policy, upon information and belief is insufficient to compensate Petitioner for

the damages sustained in the collision made the basis of this lawsuit,

VIL
Defendant, Forever 21, is liable unto Petitioner for its own negligence, which negligence
includes but is not limited to the following:
a) Failure to identify the hazardous condition of the premises at issue (the exposed
broken tile);

 
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b)} Failure to maintain the premises in a safe manner;

c) Allowing the defective/hazardous condition to exist;

d) Failure to warn the guests/visitors and/or the general public and in particular this

. Petitioner of the dangerous condition of the premises;

e) Failure to routinely and carefully inspect the business premises for use by invitees
and business patrons;

f) Failure to take the necessary precautions to avoid incidents as the one made the
basis of this litigation; and

2) Taking no corrective actions to alleviate the dangerous situation; and

h) Any and all other acts or omissions constituting negligence or strict liability to be

proven and shown at the trial of this matter.

VIL.
As a result of the aforementioned incident, Petitioner, Karen Brown, suffered injuries
which include, but are not limited to her right knee.
Vol.
Petitioner, Karen Brown, is entitled to an ammount in damages reasonably calculated to
compensate her for injuries she sustained which include, but not limited to:
a, Past, present and future mental pain, suffering and anguish;
b. Past, present and future physical pain and suffering and loss of function;
G Past, present and future medical expenses;
d, Loss of enjoyment of life;

& Any and all other damages cognizable by the Constitution of the State of
Louisiana and the United States Constitution.

IX,
Petitioner avers amicable demand to no avail,
WHEREFORE, Petitioner, KAREN BROWN, prays that her Petition bé filed and that
Defendants, FOREVER 21 RETAIL, INC. D/B/A FOREVER 21 and NATIONAL UNION:
FIRE INSURANCE COMPANY OF PITTSBURGH, PA, be duly cited and served with a

 
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copy of same, to appear and answer same and after all legal delays and due proceedings are had
that there be judgment herein in favor of Petitioner, KAREN BROWN, and against Defendants,
FOREVER 21 RETAIL, INC. D/B/A FOREVER 21 and NATIONAL UNION FIRE
. INSURANCE COIMPANY OF PITTSBURGH, PA, jointly severally and in solido in an
amount reasonably calculated ‘to compensate Petitioner for her damages, together with legal

interest thereon, from date of judicial demand until paid and for all costs of the proceedings and

all general and equitable relief this Honorable Court deems necessary,

Respectfully submitted,

BY:

   

MARK WOLFE (LSB #136 3)
NANCY S, SILBERT (LSB #01597)

T. DANIEL PICK (LSB #21021)

2200 Tulane Avenue, Suite 200

New Orleans, Louisiana 70119
Telephone: (504) 569-9500

Facsimile: (504) 569-9005

Attorneys for Petitioner, Karen Brown

PLEASE SERVE:

FOREVER 21 RETAIL, INC.
Through its registered agent

CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA
Agent: Louisiana Secretary of State

8585 Archives Ave

Baton Rouge, LA 70809

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EK: KYLE ARDOIN

- SECRETARY OF STATE

P.O. BOX 94125
BATON ROUGE, LA 70804-9125

 

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